Case
Case 1:15-cr-00170-LJO-SKO
     1:15-cr-00170-LJO-SKO Document
                           Document 33
                                    33 Filed
                                       Filed 07/13/15
                                             07/13/15 Page
                                                      Page 1
                                                           1 of
                                                             of 3
                                                                3
Case 1:15-cr-00170-LJO-SKO Document 33 Filed 07/13/15 Page 2 of 3
Case
Case 1:15-cr-00170-LJO-SKO
     1:15-cr-00170-LJO-SKO Document
                           Document 33
                                    33 Filed
                                       Filed 07/13/15
                                             07/13/15 Page
                                                      Page 3
                                                           3 of
                                                             of 3
                                                                3
